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                                                      U.S. Department of Justice
                                                      S. Amanda Marshall
                                                      United States Attorney
                                                      District of Oregon
                                                      1000 SW Third Avenue, Suite 600     (503) 727-1000
                                                      Portland, OR 97204-2902         Fax (503) 727-Jll7


                                                      October 7, 2013



Lisa Hay
Assistant Federal Public Defender
101 SW Main Street, Suite 1700
Portland, OR 97204

           Re:     US. v. Richard Tieljens, 3:13-CR-00111-BR
                   Plea Agreement Letter

Dear Counsel:

I.      Parties/Scope: This plea agreement is between this United States Attorney's Office
(USAO) and defendant, and thus does not bind any other federal, state, or local prosecuting,
administrative, or regulatory authority. This agreement does not apply to any charges other than
those specifically mentioned herein.

2.      Charges: Defendant agrees to plead guilty to Counts I and 5 of the Indictment, in which
he is charged with transportation of child pornography in violation ofTitle 18, United States Code,
Section 2252A(a)(l) (Count I), and possession of child pornography in violation of Title 18,
United States Code, Section 2252A(a)(5)(B) (Count 5).

3.       Penalties: The maximum sentence for Count I is 20 years' imprisonment, a mandatory
minimum sentence of five years imprisotmtent, a fine of $250,000, five years of supervised
release, and a $100 fee assessment. The maximum sentence for Count 5 is I 0 years'
imprisonment, a fine of$250,000, five years of supervised release, and a $100 fee assessment.
Defendant agrees to pay the $200 fee assessments by the time of entry of guilty plea or explain to
the Court why this cmmot be done. Defendant will also be required to register as a sex offender
as set .forth morefitlly below. In addition, defendant may be liable for mandatory restitution
pursuant to Title 18, United States Code, Section2259, and certain assets seized from his
residence, described below, are subject to forfeiture pursuant to Title 18, United States Code,
Section2253. Defendant understands that the statutory mandatory minimum sentence may
restrict the application of downward departures, adjustments, and variances in some cases.

4.      Sex Offender Registration: Defendant understands that under the federal Sex
Offender Registration and Notification Act, he must register as a sex offender and keep the
registration current in any state in which he resides, is employed, or is a student.
Defendant understands that he must update his registration not later than three (3) business

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days following any change of name, residence, employment, or student status. Defendant
further understands that failure to comply with these obligations may subject him to
prosecution under federal and/or state law for failing to register as a sex offender.

5.       Dismissal/No Prosecution: The USAO will move at the time of sentencing to
dismiss any remaining counts against defendant The USAO fiuther agrees not to bring
additional charges against defendant arising out of this investigation, known to the USAO
at the time of this agreement. The USAO also agrees not to bring additional charges
against the defendant for possession, receipt, distribution, or transportation of child
pornography that may be discovered when law enforcement completes a forensic
examination of digital evidence seized from defendant's residence on or about March II,
2013. Nothing in this agreement bars the USAO from pursuing additional charges against
defendant relating to production of child pornography, including solicitation or aiding and
abetting the production of child pornography, enticement of any minor for unlawful sexual
purposes, the sexual abuse of any minor by defendant, or any other crime of violence not
excepted above, should any such evidence be discovered during the forensic examination
of the digital evidence seized from defendant's residence in March 2013.

6.     Sentencing Facto•·s: The parties agree that the Comt must first determine the
applicable advisory guideline range, then determine a reasonable sentence considering that
range and the factors listed in 18 U.S.C. § 3553(a). Where the parties agree that
sentencing factors apply, such agreement constitutes sufficient proof to satisfy the
applicable evidentiary standard.

7.     Relevant Conduct: Except as noted by* below, the patties agree that
defendant's relevant conduct under U.S.S,G, §§ IBI.3 and 2G2.2 should result in the
following advisory Sentencing Guideline range, prior to adjustments discussed in
Paragraphs 8 and 9 below:

Base Offense Level [§ 2G2.2(a)(2)]                                                 22
Material depicting prepubescent minors[§ 2G2.2(b)(2)]                              +2
Distribution for receipt of a thing of value, not money [§ 2G2.2(b)(3)(B)]         +5*
Material depicting sadistic or masochistic conduct [§ 2G2.2(b)(4)]                 +4
Use of a computer[§ 2G2.2(b)(6)]                                                   +2
More than 600 images [§ 2G2.2(b)(7)(D)]                                            +5
Adjusted offense level (prior to reduction for acceptance
of responsibility and any variance undet' 18 U.S.C. § 3553)                        40*

       *Defendant is free to argue that he did not distribute the images for receipt of
anything of value, and that he should only receive a two-level enhancement under Section
2G2.2(b)(3). Defendant understands that regardless of the Court's determination of the
Sentencing Guideline range, or any adjustments discussed below, the Court callllot

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sentence defendant below the five (5) year statutory mandatory minimum.

8.      Acceptance of Responsibility: Defendant must demonstrate to the Comt that he
fully admits and accepts responsibility under USSG § 3E1.1 for his unlawful conduct in
this case. If defendant does so, the USAO will recommend a three-level reduction in
defendant's offense level. The USAO reserves the right to change this recommendation if
defendant, between plea and sentencing, commits any criminal offense, obstructs or
attempts to obstruct justice as explained in USSG § 3C1.1, or acts inconsistently with
acceptance of responsibility as explained in USSG § 3EI.l.

9.      Variances Under 18 U.S.C. § 3553(a): Considering all of the factors under 18
U.S.C. § 3553(a), including defendant's pre-indictment confession, his voluntary consent
in December 2011 to the search and use of his email account, mystery daddy@yahoo.com,
his consent in March 2013 to the seizure of digital evidence from his residence, and
temporary consent to the search of that evidence, as well as his re-issuance of consent to
search that evidence as a part of this plea agreement, and other factors, including
defendant's timely guilty plea prior to the filing of any pretrial motions, the government
agrees to recommend a four-level variance under 18 U.S.C. § 3553(a).

10.     Low End Range: In exchange for defendant's agreements herein, the USAO
agrees to recommend the low end of the applicable guideline range as long as defendant
demonstrates an acceptance of responsibility as explained above.

11.       Additional Departm·es, Adjustments, or Variances:

       A.      Defendant reserves the right to seek a downward departure, adjustment or variance
from the applicable sentencing guideline range determined by the Court and understands that the
government reserves its right to oppose such a request.

        B.     Defendant agrees that, should he seek a downward departure, adjustment, or
variance from the applicable guideline range determined by the Court and Probation Office, he
will provide the government with notice of: (1) the factual basis for such request; (2) any
evidence defendant intends to introduce or rely upon at the sentencing hearing; and (3) any
witnesses, including expert witnesses, defendant intends to call or rely upon at the sentencing
hearing. Such notice must be provided to the government no later than the Wednesday prior to
the week during which the sentencing hearing is scheduled. Defendant agrees that if he fails to
comply with this notice requirement, he will not oppose a government motion for a postponement
of the sentencing hearing.

12.     Waiver of Anneal/Post-Conviction Relief: Defendant knowingly and voluntarily
waives the right to appeal from any aspect of the conviction and sentence on any grounds, except
for a claim that: (1) the sentence imposed exceeds the statutory maximum, or (2) the Comt

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arrives at an advisory sentencing guideline range by applying an upward depatture under the
provisions of Guidelines Chapters 4 or 5K, or (3) the Court exercises its discretion under 18 U.S.C.
§ 3553(a) to impose a sentence which exceeds the advisory guideline sentencing range. Should
defendant seek an appeal, despite this waiver, the USAO may take any position on any issue on
appeal. Defendant also waives the right to file any collateral attack, including a motion under 28
U.S.C. § 2255, challenging any aspect of the conviction or sentence on any grounds, except on
grounds ofineffective assistance of counsel, and except as provided in Fed. R. Crim. P. 33 and 18
U.S.C. § 3582(c)(2).

13.     Court Not Bound: The Comt is not bound by the recommendations of the parties or of
the presentence repatt (PSR) writer. Because this agreement is made under Rule 11 (c )(1 )(B) of
the Federal Rules of Criminal Procedure, defendant may not withdraw any guilty plea or rescind
this plea agreement if the Court does not follow the agreements or recommendations of the parties.

14.     Full Disclosure/Resel'Vation of Rights: The USAO will fully inform the PSR writer and
the Comt of the facts and law related to defendant's case. Except as set forth in this agreement,
the parties reserve all other rights to make sentencing recommendations and to respond to motions
and arguments by the opposition.

15.     Breach of Plea Agreement: If defendant breaches the terms of this agreement, or
commits any new criminal offenses between signing this agreement and sentencing, the USAO is
relieved of its obligations under this agreement, but defendant may not withdraw any guilty plea.

16.       Abandonment and Forfeiture of Property:

        A.      Assets and Authority: By signing this agreement, defendant knowingly and
voluntarily abandons and forfeits all right, title, and interest in and to all assets which are subject to
forfeiture pursuant to 18 U.S. C.§ 2253, including the assets listed below, which defendant admits
constitute the proceeds of defendant's criminal activity or were used to facilitate defendant's
criminal activity, in violation of 18 U.S.C. §§ 2252A (a)(!) and (a)(5)(B) as set forth in Counts 1
and 5 ofthe Indictment:

a.        A black generic tower-type server, including eight hard drives:

      •   Seagate hard drive, Model ST31500341AS, serial number 9VS1L05B;
      •   Samsung hard drive, Model HD 154UI, serial number S2CHJROZA00059;
      •   Seagate hard drive, Model ST380011A, serial number 4JS2DWQV;
      •   Western Digital hard drive, Model WD8000AARS, serial number WCAV5F421627;
      •   Western Digital hard drive, Model WD5000ADS, serial number WMAV 511022315;
      •   Western Digital hard drive, Model WDG400AAKS, serial number WMASY1840235;
      •   Samsung hard drive, Model HD 154VI, serial number S24EJROZ400429; and
      •   Western Digital hard drive, Model WD8000AARS, serial number WCAV5F460380;

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b.        A blue and grey Dell tower-type server, Model WHL, serial number 8L7KZ51, including
          six hard drives:

     •    Western Digital hard drive, Model WDSOOOAARS, serial number WCAV57587760;
     •    Western Digital hard drive, Model WD3000GLES, serial number WXL408740311;
     •    Western Digital hard drive, Model WDSOOJD, serial number WMAM9T237888;
     •    Western Digital hard drive, Model WDSOOJD, serial number WMAM9R922819;
     •    Maxtor hard drive, Model Maxline II, serial number A82YVLNE; and
     •    Maxtor hard drive, Model DiamondMax 16, serial number A817HORE; and

c.        A black generic tower-type computer, including four hard drives:

     •    Western Digital640 GB hard drive, Model WD6400AAKS, serial number
          WMASY1843228;
     •    Seagate 250 GB hard drive, Model ST3250824AS, serial number 5ND5MOCX;
     •    Seagate 250 GB hard drive, Model ST3250824AS, serial number 5ND5KQRQ; and
     •    Western Digital250 GB hard drive, Model WD2500YS, serial number WCANY2830484.

        B.     Abandonment of Additional Assets: In exchange for the government's promises
herein, defendant knowingly and voluntarily abandons all interest in the digital evidence seized
from his residence by the Dundee-Newberg Police Department on or about March 11, 2013,
whether or not such evidence contains images of child pornography or is otherwise subject to
forfeiture under 18 U.S.C. § 2253.

         C.     Agreement to Civil Forfeiture: Defendant agrees to not file a claim or to
withdraw any claim already filed to any of the listed property in any civil proceeding,
administrative or judicial, which has been or may be initiated. Defendant further waives the right
to notice of any forfeiture proceeding involving this property, and agrees not to assist others in
filing a claim in any forfeiture proceeding.

        D.       No Alteration or Satisfaction: Defendant knowingly and voluntarily waives the
right to a jury trial on the forfeiture of assets. Defendant knowingly and voluntarily waives all
constitutional, legal and equitable defenses to the forfeiture of these assets, including any claim or
defense under the Eighth Amendment to the United States Constitution, and any rights under Rule
32.2 of the Federal Rules of Criminal Procedure. Defendant further agrees forfeiture of
defendant's assets shall not be treated as satisfaction of any fine, restitution, cost of imprisonment,
or any other penalty this Comi may impose upon defendant in addition to forfeiture.

         E.     Title Assistance: Defendant agrees to fully assist the USAO in the forfeiture of
the listed assets and to take whatever steps are necessary to pass clear title to the United States,
including but not limited to surrender of title and execution of any documents necessary to transfer
defendant's interest in any of the above propetty to the United States, and assist in bringing any

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assets located outside the United States within the jurisdiction of the United States, and taking
whatever steps are necessary to ensure that assets subject to forfeiture are not sold, disbursed,
wasted, hidden or otherwise made unavailable for forfeiture.

        F.       Assets Not Identified: The USAO reserves its right to proceed against any
remaining assets not identified either in this agreement or in the civil actions which are being
resolved along with this plea of guilty, including any property in which defendant has any interest
or control, if said assets, real or personal, tangible or intangible are subject to forfeiture.

17.    Restitution: Defendant understands that he may be liable for mandatory restitution
pursuant to 18 U.S.C. § 2259. Defendant is free to challenge the amount and proximate cause of
any claims submitted to the Court.

18.     Memorialization of Agreement: No promises, agreements or conditions other than
those set fotth in this agreement will be effective unless memorialized in writing and signed by all
parties listed below or confirmed on the record before the Court. If defendant accepts this offer,
please sign and attach the original of this letter to the Petition to Enter Plea.

19.       Deadline: This plea offer expires if not accepted by October 18,2013 at 5:00p.m.

                                                      Sincerely,

                                                      S. AMANDA MARSHALL
                                                      United States Attorney

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                                                     JANE SHOEMAKER
                                                     Assistant United States Attorney




       I have carefully reviewed every patt of this agreement with my attorney. I understand and
voluntarily agree to its terms. I wish to plead guilty because, in fact, I am guilty.




I     ll'iJ
Date                                          Defendant RICHARfJ'fiETJENS



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        I represent the defendant as legal counsel. I have carefully reviewed every part of this
agreement with defendant. To my knowledge, defendant's decisions to make this agreement and
to plead guilty are informed and voluntary ones.




                                            LISA HAY, A ·stant Federal Public Defender
                                            Attorney for Defendant Richard Tietjens




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